Case 2:23-cv-00381-JRG-RSP Document 1-2 Filed 08/25/23 Page 1 of 24 PageID #: 31




                  Exhibit 2
                          Case 2:23-cv-00381-JRG-RSP Document 1-2 Filed 08/25/23 Page 2 of 24 PageID #: 32


                                                           U.S. Patent No. 7,924,802 (“’802 Patent”)

Accused Instrumentalities: cellular base stations, mobile devices, and services that support 3GPP carrier aggregation, including without
limitation Apple mobile devices, and all versions and variations thereof since the issuance of the asserted patent.

Claim 1

                Claim 1                                                                         Public Documentation

 [1pre] A method of transmitting infor-   To the extent the preamble is found to be limiting, the Accused Instrumentalities perform a method of transmitting information in a
 mation in a wireless communication       wireless communication channel.
 channel comprising:
                                          For example, each Accused Instrumentality supports 3GPP carrier aggregation technologies for transmitting uplink and/or downlink
                                          information over LTE and/or NR wireless channels. Defendant’s base station suppliers Nokia and Ericsson both advertise the use of
                                          carrier aggregation technologies for transmitting wireless information. User equipment devices sold by and used on Defendant’s
                                          network, such as the Apple iPhone, support 3GPP carrier aggregation for transmitting wireless information.

                                          See, e.g.:


                                          5.2           Downlink
                                          5.2.1         Downlink transmission scheme
                                          A closed loop Demodulation Reference Signal (DMRS) based spatial multiplexing is supported for Physical Downlink Shared Chan-
                                          nel (PDSCH). Up to 8 and 12 orthogonal DL DMRS ports are supported for type 1 and type 2 DMRS respectively. Up to 8 orthogonal
                                          DL DMRS ports per UE are supported for SU MIMO and up to 4 orthogonal DL DMRS ports per UE are supported for MU-MIMO.
                                          The number of SU-MIMO code words is one for 1-4 layer transmissions and two for 5-8 layer transmissions.

                                          The DMRS and corresponding PDSCH are transmitted using the same precoding matrix and the UE does not need to know the
                                          precoding matrix to demodulate the transmission. The transmitter may use different precoder matrix for different parts of the trans-
                                          mission bandwidth, resulting in frequency selective precoding. The UE may also assume that the same precoding matrix is used across
                                          a set of Physical Resource Blocks (PRBs) denoted Precoding Resource Block Group (PRG).

                                          Transmission durations from 2 to 14 symbols in a slot is supported.

                                          Aggregation of multiple slots with Transport Block (TB) repetition is supported.

                                          (3GPP TS 38.300 V17.4.0)




                                                                              Page 1 of 23
Case 2:23-cv-00381-JRG-RSP Document 1-2 Filed 08/25/23 Page 3 of 24 PageID #: 33



           5.4           Carrier aggregation
           5.4.1         Carrier aggregation
           In Carrier Aggregation (CA), two or more Component Carriers (CCs) are aggregated. A UE may simultaneously receive or transmit
           on one or multiple CCs depending on its capabilities:

              -   A UE with single timing advance capability for CA can simultaneously receive and/or transmit on multiple CCs corresponding
                  to multiple serving cells sharing the same timing advance (multiple serving cells grouped in one TAG);

              -   A UE with multiple timing advance capability for CA can simultaneously receive and/or transmit on multiple CCs correspond-
                  ing to multiple serving cells with different timing advances (multiple serving cells grouped in multiple TAGs). NG-RAN
                  ensures that each TAG contains at least one serving cell;

              -   A non-CA capable UE can receive on a single CC and transmit on a single CC corresponding to one serving cell only (one
                  serving cell in one TAG).

           CA is supported for both contiguous and non-contiguous CCs. When CA is deployed frame timing and SFN are aligned across cells
           that can be aggregated, or an offset in multiples of slots between the PCell/PSCell and an SCell is configured to the UE. The maximum
           number of configured CCs for a UE is 16 for DL and 16 for UL.

           (3GPP TS 38.300 V17.4.0)

           6.7           Carrier Aggregation
           In case of CA, the multi-carrier nature of the physical layer is only exposed to the MAC layer for which one HARQ entity is required
           per serving cell as depicted on Figures 6.7-1 and 6.7-2 below:

              -   In both uplink and downlink, there is one independent hybrid-ARQ entity per serving cell and one transport block is generated
                  per assignment/grant per serving cell in the absence of spatial multiplexing. Each transport block and its potential HARQ
                  retransmissions are mapped to a single serving cell.

           (3GPP TS 38.300 V17.4.0)




                                               Page 2 of 23
          Case 2:23-cv-00381-JRG-RSP Document 1-2 Filed 08/25/23 Page 4 of 24 PageID #: 34



Claim 1                                                        Public Documentation




                     (3GPP TS 38.300 V17.4.0)



                                                Page 3 of 23
          Case 2:23-cv-00381-JRG-RSP Document 1-2 Filed 08/25/23 Page 5 of 24 PageID #: 35



Claim 1                                                        Public Documentation




                     (3GPP TS 38.300 V17.4.0)




                                                Page 4 of 23
          Case 2:23-cv-00381-JRG-RSP Document 1-2 Filed 08/25/23 Page 6 of 24 PageID #: 36



Claim 1                                                                  Public Documentation




                     (https://www.nokia.com/about-us/newsroom/articles/5g-carrier-aggregation-explained/)




                                                       Page 5 of 23
          Case 2:23-cv-00381-JRG-RSP Document 1-2 Filed 08/25/23 Page 7 of 24 PageID #: 37



Claim 1                                                                  Public Documentation




                     (https://www.nokia.com/about-us/newsroom/articles/5g-carrier-aggregation-explained/)




                                                       Page 6 of 23
          Case 2:23-cv-00381-JRG-RSP Document 1-2 Filed 08/25/23 Page 8 of 24 PageID #: 38



Claim 1                                                                  Public Documentation




                     (https://www.nokia.com/about-us/newsroom/articles/5g-carrier-aggregation-explained/)




                                                       Page 7 of 23
Case 2:23-cv-00381-JRG-RSP Document 1-2 Filed 08/25/23 Page 9 of 24 PageID #: 39




               SEE WHAT CARRIER AGGREGATION CAN DO FOR YOUR NETWORK

           5G Carrier Aggregation -with Coverage Boost- powered by Advanced RAN Coordination is a versatile and blended solu-
           tion for high-performing 5G networks. It is a game-changer for delivering extended coverage and increased network
           capacity while supporting

               •   Higher peak rates
               •   Flexible band combinations
               •   Intra and inter RAN Compute
               •   Both platforms, Ericsson Radio System and Cloud RAN

           (https://www.ericsson.com/en/ran/carrier-aggregation)



                   THE BIG FEATURE: ENHANCED 5G CARRIER AGGREGATION ON IPHONE 13




                                                                   The Qualcomm X60 is the first 5G modem capable of combining different types of 5G signals together.
           The additional 5G bands are actually not the biggest cellular change with the iPhone 13.


           Assuming the speculation proves true and Apple is indeed using the Qualcomm X60 modem - the real key cellular fea-
           ture of the iPhone 13 is support for enhanced 5G carrier aggregation.


           In addition to being much more power efficient, the big jump between the X55 and X60 modems revolves around improved 5G
           carrier aggregation - allowing the modem to better combine multiple signals on different frequency bands.




                                              Page 8 of 23
                            Case 2:23-cv-00381-JRG-RSP Document 1-2 Filed 08/25/23 Page 10 of 24 PageID #: 40



                  Claim 1                                                                              Public Documentation

                                                To get deeper into the nitty gritty of why this is (and why we've encouraged many to consider waiting for the X60), see our
                                                featured story from June 2021:


                                                5G Industry Update: 5G Routers, Hotspots & Antennas Are Here – But Should You Wait?


                                                In a nutshell - the X60 is just more adept at combining long range and short range 5G signals.


                                                For example, the X60 can combine super short range mmWave with longer range mid-band or low-band 5G, helping to com-
                                                pensate for mmWave's range limitations.


                                                A more specific example: the X60 will allow T-Mobile's long-range low-band band n71 and super-fast mid-band n41 to be used
                                                by the modem simultaneously. This will give many T-Mobile customers the range of n71, without sacrificing the speed of n41.


                                                And another example - Verizon or AT&T will be able to combine their upcoming C-Band deployments (n77) with their longer
                                                range Sub-6 GHz 5G signals in ways that the X55 is just not capable of.


                                                (https://www.rvmobileinternet.com/apples-fall-2021-cellular-updates-new-iphone-13-modem-analysis-ipad-mini-goes-
                                                5g/#The_Big_Feature_Enhanced_5G_Carrier_Aggregation_on_iPhone_13)

[1a] transmitting first information across      The Accused Instrumentalities perform a method including transmitting first information across a first frequency range using a wire-
a first frequency range using a wireless        less transmitter, the first frequency range having a first center frequency, a first highest frequency, and a first lowest frequency.
transmitter, the first frequency range hav-
ing a first center frequency, a first highest   For example, the Accused Instrumentalities transmit downlink information or uplink information on a first component carrier with a
frequency, and a first lowest frequency;        frequency range with a first center frequency (labeled FC,low in the excerpt from 3GPP TS 38.101 V17.9.0 below), first highest fre-
and                                             quency (highlighted in red below), and first lowest frequency (highlighted in blue below). This applies in the cases of intra-band
                                                contiguous, intra-band non-contiguous, and inter-band CA.

                                                See, e.g.:


                                                5.2           Downlink
                                                5.2.1         Downlink transmission scheme

                                                                                    Page 9 of 23
          Case 2:23-cv-00381-JRG-RSP Document 1-2 Filed 08/25/23 Page 11 of 24 PageID #: 41



Claim 1                                                                     Public Documentation

                     A closed loop Demodulation Reference Signal (DMRS) based spatial multiplexing is supported for Physical Downlink Shared Chan-
                     nel (PDSCH). Up to 8 and 12 orthogonal DL DMRS ports are supported for type 1 and type 2 DMRS respectively. Up to 8 orthogonal
                     DL DMRS ports per UE are supported for SU MIMO and up to 4 orthogonal DL DMRS ports per UE are supported for MU-MIMO.
                     The number of SU-MIMO code words is one for 1-4 layer transmissions and two for 5-8 layer transmissions.

                     The DMRS and corresponding PDSCH are transmitted using the same precoding matrix and the UE does not need to know the
                     precoding matrix to demodulate the transmission. The transmitter may use different precoder matrix for different parts of the trans-
                     mission bandwidth, resulting in frequency selective precoding. The UE may also assume that the same precoding matrix is used across
                     a set of Physical Resource Blocks (PRBs) denoted Precoding Resource Block Group (PRG).

                     Transmission durations from 2 to 14 symbols in a slot is supported.

                     Aggregation of multiple slots with Transport Block (TB) repetition is supported.

                     (3GPP TS 38.300 V17.4.0)

                     5.3           Uplink
                     5.3.1         Uplink transmission scheme
                     Two transmission schemes are supported for PUSCH: codebook based transmission and non-codebook based transmission.

                     For codebook based transmission, the gNB provides the UE with a transmit precoding matrix indication in the DCI. The UE uses the
                     indication to select the PUSCH transmit precoder from the codebook. For non-codebook based transmission, the UE determines its
                     PUSCH precoder based on wideband SRI field from the DCI.

                     A closed loop DMRS based spatial multiplexing is supported for PUSCH. For a given UE, up to 4 layer transmissions are supported.
                     The number of code words is one. When transform precoding is used, only a single MIMO layer transmission is supported.

                     Transmission durations from 1 to 14 symbols in a slot is supported.

                     Aggregation of multiple slots with TB repetition is supported.

                     (3GPP TS 38.300 V17.4.0)




                                                        Page 10 of 23
Case 2:23-cv-00381-JRG-RSP Document 1-2 Filed 08/25/23 Page 12 of 24 PageID #: 42



           5.4           Carrier aggregation
           5.4.1         Carrier aggregation
           In Carrier Aggregation (CA), two or more Component Carriers (CCs) are aggregated. A UE may simultaneously receive or transmit
           on one or multiple CCs depending on its capabilities:

              -   A UE with single timing advance capability for CA can simultaneously receive and/or transmit on multiple CCs corresponding
                  to multiple serving cells sharing the same timing advance (multiple serving cells grouped in one TAG);

              -   A UE with multiple timing advance capability for CA can simultaneously receive and/or transmit on multiple CCs correspond-
                  ing to multiple serving cells with different timing advances (multiple serving cells grouped in multiple TAGs). NG-RAN
                  ensures that each TAG contains at least one serving cell;

              -   A non-CA capable UE can receive on a single CC and transmit on a single CC corresponding to one serving cell only (one
                  serving cell in one TAG).

           CA is supported for both contiguous and non-contiguous CCs. When CA is deployed frame timing and SFN are aligned across cells
           that can be aggregated, or an offset in multiples of slots between the PCell/PSCell and an SCell is configured to the UE. The maximum
           number of configured CCs for a UE is 16 for DL and 16 for UL.

           (3GPP TS 38.300 V17.4.0)

           6.7           Carrier Aggregation
           In case of CA, the multi-carrier nature of the physical layer is only exposed to the MAC layer for which one HARQ entity is required
           per serving cell as depicted on Figures 6.7-1 and 6.7-2 below:

              -   In both uplink and downlink, there is one independent hybrid-ARQ entity per serving cell and one transport block is generated
                  per assignment/grant per serving cell in the absence of spatial multiplexing. Each transport block and its potential HARQ
                  retransmissions are mapped to a single serving cell.

           (3GPP TS 38.300 V17.4.0)




                                              Page 11 of 23
          Case 2:23-cv-00381-JRG-RSP Document 1-2 Filed 08/25/23 Page 13 of 24 PageID #: 43



Claim 1                                                         Public Documentation




                     (3GPP TS 38.300 V17.4.0)



                                                Page 12 of 23
          Case 2:23-cv-00381-JRG-RSP Document 1-2 Filed 08/25/23 Page 14 of 24 PageID #: 44



Claim 1                                                         Public Documentation




                     (3GPP TS 38.300 V17.4.0)




                                                Page 13 of 23
          Case 2:23-cv-00381-JRG-RSP Document 1-2 Filed 08/25/23 Page 15 of 24 PageID #: 45



Claim 1                                                      Public Documentation




                                             Page 14 of 23
          Case 2:23-cv-00381-JRG-RSP Document 1-2 Filed 08/25/23 Page 16 of 24 PageID #: 46



Claim 1                                                         Public Documentation




                     (3GPP TS 38.101 V17.9.0)


                                                Page 15 of 23
          Case 2:23-cv-00381-JRG-RSP Document 1-2 Filed 08/25/23 Page 17 of 24 PageID #: 47



Claim 1                                                         Public Documentation




                     (3GPP TS 38.101 V17.9.0)




                                                Page 16 of 23
                           Case 2:23-cv-00381-JRG-RSP Document 1-2 Filed 08/25/23 Page 18 of 24 PageID #: 48



                 Claim 1                                                                             Public Documentation

[1b] simultaneously transmitting second       The Accused Instrumentalities perform a method including simultaneously transmitting second information across a second frequency
information across a second frequency         range using the same wireless transmitter, the second frequency range having a second center frequency greater than the first center
range using the same wireless transmitter,    frequency, a second highest frequency, and a second lowest frequency.
the second frequency range having a sec-
ond center frequency greater than the first   For example, the Accused Instrumentalities transmit downlink information or uplink information on a second component carrier with
center frequency, a second highest fre-       a frequency range with a second center frequency (labeled FC,high in the excerpt from 3GPP TS 38.101 V17.9.0 below), second highest
quency, and a second lowest frequency.        frequency (highlighted in red below), and second lowest frequency (highlighted in blue below). This applies in the cases of intra-band
                                              contiguous, intra-band non-contiguous, and inter-band CA. The transmission is performed simultaneously using the same wireless
                                              transmitter, as set out for example in section 5.4 of 3GPP TS 38.300 V17.4.0.

                                              See, e.g.:


                                              5.2           Downlink
                                              5.2.1         Downlink transmission scheme
                                              A closed loop Demodulation Reference Signal (DMRS) based spatial multiplexing is supported for Physical Downlink Shared Chan-
                                              nel (PDSCH). Up to 8 and 12 orthogonal DL DMRS ports are supported for type 1 and type 2 DMRS respectively. Up to 8 orthogonal
                                              DL DMRS ports per UE are supported for SU MIMO and up to 4 orthogonal DL DMRS ports per UE are supported for MU-MIMO.
                                              The number of SU-MIMO code words is one for 1-4 layer transmissions and two for 5-8 layer transmissions.

                                              The DMRS and corresponding PDSCH are transmitted using the same precoding matrix and the UE does not need to know the
                                              precoding matrix to demodulate the transmission. The transmitter may use different precoder matrix for different parts of the trans-
                                              mission bandwidth, resulting in frequency selective precoding. The UE may also assume that the same precoding matrix is used across
                                              a set of Physical Resource Blocks (PRBs) denoted Precoding Resource Block Group (PRG).

                                              Transmission durations from 2 to 14 symbols in a slot is supported.

                                              Aggregation of multiple slots with Transport Block (TB) repetition is supported.

                                              (3GPP TS 38.300 V17.4.0)

                                              5.3           Uplink
                                              5.3.1         Uplink transmission scheme
                                              Two transmission schemes are supported for PUSCH: codebook based transmission and non-codebook based transmission.




                                                                                  Page 17 of 23
          Case 2:23-cv-00381-JRG-RSP Document 1-2 Filed 08/25/23 Page 19 of 24 PageID #: 49



Claim 1                                                                     Public Documentation

                     For codebook based transmission, the gNB provides the UE with a transmit precoding matrix indication in the DCI. The UE uses the
                     indication to select the PUSCH transmit precoder from the codebook. For non-codebook based transmission, the UE determines its
                     PUSCH precoder based on wideband SRI field from the DCI.

                     A closed loop DMRS based spatial multiplexing is supported for PUSCH. For a given UE, up to 4 layer transmissions are supported.
                     The number of code words is one. When transform precoding is used, only a single MIMO layer transmission is supported.

                     Transmission durations from 1 to 14 symbols in a slot is supported.

                     Aggregation of multiple slots with TB repetition is supported.

                     (3GPP TS 38.300 V17.4.0)

                     5.4           Carrier aggregation
                     5.4.1         Carrier aggregation
                     In Carrier Aggregation (CA), two or more Component Carriers (CCs) are aggregated. A UE may simultaneously receive or transmit
                     on one or multiple CCs depending on its capabilities:

                        -   A UE with single timing advance capability for CA can simultaneously receive and/or transmit on multiple CCs corresponding
                            to multiple serving cells sharing the same timing advance (multiple serving cells grouped in one TAG);

                        -   A UE with multiple timing advance capability for CA can simultaneously receive and/or transmit on multiple CCs correspond-
                            ing to multiple serving cells with different timing advances (multiple serving cells grouped in multiple TAGs). NG-RAN
                            ensures that each TAG contains at least one serving cell;

                        -   A non-CA capable UE can receive on a single CC and transmit on a single CC corresponding to one serving cell only (one
                            serving cell in one TAG).

                     CA is supported for both contiguous and non-contiguous CCs. When CA is deployed frame timing and SFN are aligned across cells
                     that can be aggregated, or an offset in multiples of slots between the PCell/PSCell and an SCell is configured to the UE. The maximum
                     number of configured CCs for a UE is 16 for DL and 16 for UL.

                     (3GPP TS 38.300 V17.4.0)

                     6.7           Carrier Aggregation
                     In case of CA, the multi-carrier nature of the physical layer is only exposed to the MAC layer for which one HARQ entity is required
                     per serving cell as depicted on Figures 6.7-1 and 6.7-2 below:



                                                        Page 18 of 23
          Case 2:23-cv-00381-JRG-RSP Document 1-2 Filed 08/25/23 Page 20 of 24 PageID #: 50



Claim 1                                                                    Public Documentation

                        -   In both uplink and downlink, there is one independent hybrid-ARQ entity per serving cell and one transport block is generated
                            per assignment/grant per serving cell in the absence of spatial multiplexing. Each transport block and its potential HARQ
                            retransmissions are mapped to a single serving cell.

                     (3GPP TS 38.300 V17.4.0)




                                                        Page 19 of 23
          Case 2:23-cv-00381-JRG-RSP Document 1-2 Filed 08/25/23 Page 21 of 24 PageID #: 51



Claim 1                                                         Public Documentation




                     (3GPP TS 38.101 V17.9.0)



                                                Page 20 of 23
          Case 2:23-cv-00381-JRG-RSP Document 1-2 Filed 08/25/23 Page 22 of 24 PageID #: 52



Claim 1                                                         Public Documentation




                     (3GPP TS 38.101 V17.9.0)




                                                Page 21 of 23
          Case 2:23-cv-00381-JRG-RSP Document 1-2 Filed 08/25/23 Page 23 of 24 PageID #: 53



Claim 1                                                         Public Documentation




                     (3GPP TS 38.101 V17.9.0)




                                                Page 22 of 23
          Case 2:23-cv-00381-JRG-RSP Document 1-2 Filed 08/25/23 Page 24 of 24 PageID #: 54



Claim 1                                                                     Public Documentation


                     5.4           Carrier aggregation
                     5.4.1         Carrier aggregation
                     In Carrier Aggregation (CA), two or more Component Carriers (CCs) are aggregated. A UE may simultaneously receive or transmit
                     on one or multiple CCs depending on its capabilities:

                        -   A UE with single timing advance capability for CA can simultaneously receive and/or transmit on multiple CCs corresponding
                            to multiple serving cells sharing the same timing advance (multiple serving cells grouped in one TAG);

                        -   A UE with multiple timing advance capability for CA can simultaneously receive and/or transmit on multiple CCs correspond-
                            ing to multiple serving cells with different timing advances (multiple serving cells grouped in multiple TAGs). NG-RAN
                            ensures that each TAG contains at least one serving cell;

                        -   A non-CA capable UE can receive on a single CC and transmit on a single CC corresponding to one serving cell only (one
                            serving cell in one TAG).

                     CA is supported for both contiguous and non-contiguous CCs. When CA is deployed frame timing and SFN are aligned across cells
                     that can be aggregated, or an offset in multiples of slots between the PCell/PSCell and an SCell is configured to the UE. The maximum
                     number of configured CCs for a UE is 16 for DL and 16 for UL.

                     (3GPP TS 38.300 V17.4.0)




                                                        Page 23 of 23
